        Case 5:18-cv-00340-XR Document 31 Filed 12/26/18 Page 1 of 19




                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIVISION

APRIL SEGOVIA,                                 §
                                               §
        Plaintiff,                             §
                                               §
v.                                             §    Civil Action No. SA-18-CV-340-XR
                                               §
THE PHOENIX RECOVERY GROUP,                    §
                                               §
        Defendant.                             §


                                           ORDER

       On this date, the Court considered the Motion for Partial Summary Judgment filed by

Defendant the Phoenix Recovery Group (“PRG”) (docket no. 12). PRG attempted to collect a

debt owed by Plaintiff after she skipped out on her lease. Plaintiff does not dispute that she

breached the lease and owes the underlying debt of approximately $5,000, which she has

never paid. And she did not dispute the debt, which included a $91 charge for attorney’s fees,

or the $50 collection fee charged by PRG, under § 1692g of the Federal Debt Collection

Practices Act (“FDCPA”) when PRG first contacted her about the debt in 2012. Instead,

Plaintiff waited until 2018 to file this lawsuit alleging FDCPA violations based on the $91

attorney fee charge and the $50 collection fee, because Plaintiff suspected that the fees failed

to comply with the specific requirements of the Lease. Because Plaintiff fails to proffer any

summary judgment evidence that the fees are unlawful or that the collection letter contained

misrepresentations, summary judgment is granted in favor of Defendant.
        Case 5:18-cv-00340-XR Document 31 Filed 12/26/18 Page 2 of 19




                                   Procedural Background

       April Segovia filed this lawsuit against Defendant PRG on April 17, 2018, alleging

violations of the FDCPA insofar as Defendant PRG allegedly made false and deceptive

representations to Plaintiff and attempted to collect unauthorized fees. On June 13, 2018, PRG

answered, asserting the affirmative defense of limitations, and filed a counterclaim to recover

its attorney’s fees and costs on the ground that Plaintiff’s lawsuit is frivolous and filed in bad

faith. On August 11, 2018, PRG moved for summary judgment on Plaintiff’s FDCPA claims

on the basis that the claims are barred by limitations and that the fees were lawfully charged.

Defendant’s motion raises two grounds for summary judgment: (1) limitations and (2) the

attorney’s fee and collection fee are permitted in the lease and therefore do not violate the

FDCPA. On September 23, Plaintiff objected to the motion as premature, noting that she had

not had the opportunity to obtain certain discovery, including as to how and when the

“Collection Fee” notation was added, by whom it was added, and by whose authority it was

added. Docket no. 14 at 8. Plaintiff further argued that she needed discovery as to whether the

$91 attorney’s fee actually arose from “some work instituted by an attorney.” Id. at 9.

       This Court held a status conference and hearing on all pending motions on September

26. The Court noted proportionality concerns about discovery and directed the parties to

confer and attempt to work out a settlement. On October 2, PRG filed its Reply, repeating its

assertion of limitations and that the fees were lawful, and specifically addressing for the first

time Plaintiff’s claim that language concerning re-building credit was confusing in violation of

the FDCPA. On October 25, Plaintiff filed a motion for leave to file a Sur-Reply, which the

Court granted. On October 29, PRG filed a motion requesting a hearing on its motion for

                                                2
        Case 5:18-cv-00340-XR Document 31 Filed 12/26/18 Page 3 of 19




summary judgment, which the Court granted by setting a hearing. On November 20, the Court

granted Plaintiff’s unopposed motion to extend the discovery deadline until March 8, 2019.

       The Court held a hearing on Defendant’s motion for summary judgment on December

20, 2018. At the hearing, the parties made arguments but neither side presented any evidence.

The Court denied Plaintiff’s request to continue consideration of the motion or deny the

motion pursuant to Rule 56(d) because Plaintiff failed to comply with the rule and because any

additional discovery from Sage Crossing appeared to be futile. The motion for summary

judgment is thus ripe for disposition.

                                     Factual Background

       Plaintiff leased an apartment with Sage Crossing Apartments in San Antonio for a term

from April 1, 2011 to May 31, 2012. Docket no. 12-2. Plaintiff breached the lease in

December 2011 by failing to fulfill the full term of the lease, and was charged for the unpaid

accelerated rent, cleaning charges, an insufficient notice penalty, attorney fees or legal charges

($91), and owed rent, totaling $5,028.15. Paragraph 32 of the Lease Agreement provides that

if the tenant breaches the lease, all monthly rent for the rest of the lease contract would be

accelerated and would be immediately due, and provides as “other remedies” that Sage

Crossing “may recover attorney’s fees in connection with enforcing our rights under this Lease

Contract” and that the tenant “must pay all collection-agency fees if you fail to pay all sums

due within 10 days after we mail you a letter demanding payment and stating that collection

agency fees will be added if you don’t pay all sums by that deadline.” Docket no. 12-2.

       Sage Crossing issued a final account statement on December 27, 2011. The account

statement included $91 in “attorney or legal charges” and totaled $5,028.15. Docket no. 12-3.

                                                3
        Case 5:18-cv-00340-XR Document 31 Filed 12/26/18 Page 4 of 19




Plaintiff did not pay, and Sage Crossing then sent the account to PRG for collection in June

2012. Docket no. 12-1, 12-5. It is undisputed that PRG is a debt collector under the FDCPA.

15 U.S.C. § 1692a(6).

       PRG sent a first notice letter to Plaintiff on June 28, 2012, a second notice letter on

July 24, 2012, and a third notice letter on August 30, 2012. Docket no. 12-4. These letters

notified Plaintiff that she owed the account balance of $5,028.15 to Sage Crossing, and

assessed an additional $50 collection fee assessed by Defendant, for a total amount due of

$5,078.15. Plaintiff did not dispute the debt within thirty days of the first notice letter. See 15

U.S.C. § 1692g(3) (requiring the first notice of debt to inform the consumer that “unless the

consumer, within thirty days after receipt of the notice, disputes the validity of the debt, or any

portion thereof, the debt will be assumed to be valid by the debt collector”). PRG continued

attempts to collect the debt for the next several years. Docket no. 12-5.

       Plaintiff alleges that Defendant sent a letter “on or about April 2017” and she disputed

the debt. Plaintiff alleges that Defendant then “validated” the debt in a letter dated April 20,

2017. In that letter, PRG offered a “settlement off of the original balance due,” showing an

amount of $5,028.15 due to Creditor Sage Crossing, and a $50 collection fee, for a total due of

$5,078.15. Docket no. 1-1. The $50 collection fee was handwritten onto a copy of the

December 27, 2011 final account statement sent to Plaintiff by Sage Crossing Apartments (and

that final account statement included a $91 charge for attorney’s fees). The letter also stated,

“Don’t wait, call today and begin to re-establish your credit.” Id.

       Plaintiff filed this lawsuit on April 17, 2018, less than one year after the April 20, 2017

letter was mailed. She alleges that the FDCPA prohibits “seeking to collect a collection fee in

                                                4
        Case 5:18-cv-00340-XR Document 31 Filed 12/26/18 Page 5 of 19




connection with the collection of a debt where underlying state law does not specifically

provide for such a fee, or where the underlying contract does not permit such fees,” that the

underlying contract does not expressly authorize a $50 collection fee, and a $50 collection fee

is exorbitant and abusive. Compl. ¶¶ 15-17. Plaintiff further alleges that “seeking to collect an

attorney fee in connection with the collection of debt where underlying state law does not

provide for such a fee, or where no legal proceedings occurred and as such the underlying

contract does not permit such fees, is a violation of the FDCPA,” and that no legal proceedings

occurred warranting a $91 attorney fee. Id. ¶¶ 19-20. Last, Plaintiff alleges that the statement

“Don’t wait, call today and begin to re-establish your credit” is “false, deceptive and

misleading in violation of the FDCPA as the least sophisticated consumer would be confused

as to whether the payment of this debt alone would ‘re-establish’ his or her credit.” Id. ¶ 21.

Plaintiff thus asserts violations of § 1692e, prohibiting certain false or misleading

representations, and § 1692f, prohibiting certain unfair practices, including the “collection of

any amount (including any interest, fee, charge, or expense incidental to the principal

obligation) unless such amount is expressly authorized by the agreement creating the debt or

permitted by law.”

                                           Analysis

A. Limitations

       Section 1692k of the FDCPA authorizes civil actions to enforce the FDCPA, and

provides that such an action may be brought “within one year from the date on which the

violation occurs.” 15 U.S.C. § 1692k(d). The alleged violations in this case are “the collection

of any amount (including any interest, fee, charge, or expense)” not permitted by law under §

                                               5
        Case 5:18-cv-00340-XR Document 31 Filed 12/26/18 Page 6 of 19




1692f(1) and false or misleading representations under § 1692e. Defendant asserts that

“Plaintiff’s lawsuit is barred by the one year FDCPA Statute of Limitations” because its first

notice letter dated June 18, 2012 started the limitations clock of one year. Docket no. 12 at 2-3.

       Defendant relies primarily on a factually similar case, Roe v. Tolteca Enterprises, Inc.

d/b/a The Phoenix Recovery Group, No. 6:17cv242, 2018 WL 1900532 (E.D. Tex. Apr. 20,

2018), in which it argued that the plaintiff was placed on notice that she was being charged a

$50 collection fee in the move-out reconciliation from the lessor in 2010 and from the first

collection letter that it mailed to her, and thus her claim filed in 2017 was time-barred. The

plaintiff argued that each attempt to collect the $50 fee was a discrete violation, such that she

would have a new claim each time a letter was sent including the fee, regardless of when it

was initially assessed, and thus her claim (which was based on a 2016 letter including the fee)

was timely.

       The Roe court did not locate any Fifth Circuit cases that asserted a violation of §

1692f(1) on the same facts, and thus discussed a Fifth Circuit case involving § 1692i(a)(2)

(“legal actions by debt collectors”), finding that a debtor’s injury occurs when he learns that he

has been sued and that is when a violation of “bringing suit” occurs for limitations purposes.

Of course, a holding as to when a cause of action accrues based on “bringing suit” does not

determine when a cause of action accrues for “collecting a fee” or making false

representations under other FDCPA provisions. Recognizing this, the Roe court further

discussed different court cases finding either that each communication from a debt collector

may create a new, actionable violation or that limitations begins running from the first letter

when multiple letters are sent for the same debt. The court concluded that it would be

                                                6
        Case 5:18-cv-00340-XR Document 31 Filed 12/26/18 Page 7 of 19




inappropriate to “keep the claim alive indefinitely” by finding that each new communication

could start a fresh statute of limitations, and thus found that the alleged violation of the

FDCPA for seeking to collect a $50 collection fee occurred in December 2010, when the

defendant first assessed and sought to collect the fee, and that the plaintiff’s claim was barred

by limitations.

       Some courts, like Roe, hold that the first alleged FDCPA violation puts the plaintiff on

notice and starts the limitations period, and that “new communications . . . concerning an older

claim . . . [do] not start a new period of limitations.” E.g., Nutter v. Messerli & Kramer, P.S.,

500 F. Supp. 2d 1219, 1223 (D. Minn. 2007); Reese v. JPMorgan Chase & Co., 686 F. Supp.

2d 1291, 1307 (S.D. Fla. 2009). However, more courts have concluded that when a series of

violations is alleged, even if they relate to the same debt, each discrete violation should be

analyzed on an individual basis. Solomon v. HSBC Mortgage Corp., 395 F. App’x 494, 497

(10th Cir. 2010). This is because “[a]ny other rule would immunize debt collectors for later

wrongdoing.” Id. “It does not matter that the debt collector’s violation restates earlier

assertions – if the plaintiff sues within one year of the violation, it is not barred by § 1692k(d)”

and “[e]ach alleged violation of the FDCPA is ‘evaluate[d] . . . individually to determine

whether any portion of’ the ‘claim is not barred by the state of limitations.’” Demarais v.

Gurstel Chargo P.A., 869 F.3d 685, 694 (8th Cir. 2017). Along those lines, courts have held

that when numerous letters are sent, each letter may constitute a separate violation of the

FDCPA. See, e.g., Michalak v. LVNV Funding, LLC, 604 F. App’x 492 (6th Cir. 2015);

Kaplan v. Asssetcare, Inc., 88 F. Supp. 2d 1355, 1360 (S.D. Fla. 2000) (plaintiff sued on

dunning letters sent January 1998 to June 1998 as violations of §§ 1692e and § 1692f(1) and

                                                 7
        Case 5:18-cv-00340-XR Document 31 Filed 12/26/18 Page 8 of 19




court found only those sent more than one year before suit was filed were time barred);

Murphy v. MRC Receivables Corp., No. 06-0299-CV-W-NKL, 2007 WL 148823 (W.D. Mo.

Jan. 12, 2007).

       Courts recognizing this rule, however, generally reject any “continuing violation”

theory, where parties argue that later acts (within the limitations period) revive the limitations

period for older acts outside the limitations period. See Gajewski v. Ocwen Loan Serv., 650 F.

App’x 283, 286 (7th Cir. 2016) (“The ‘continuing violation’ doctrine, which actually concerns

‘cumulative’ violations, ‘does not apply to ‘a series of discrete acts, each of which is

independently actionable, even if those acts form an overall pattern of wrongdoing.’”);

Solomon v. HSBC Mortgage Corp., 395 F. App’x 494, 487 n.3 (10th Cir. 2010); Schaffhauser

v. Citibank (S.D.), N.A., 340 F. App’x 128, 131 (3d Cir. 2009) (declining to extend the

continuous violation doctrine to an FDCPA claim); Boles v. Moss Codilis, LLP, No. SA-10-

CV-1003-XR, 2012 WL 12861080, at *4 n.10 (W.D. Tex. Jan. 17, 2012) (“Another argument

that is commonly proffered in FDCPA cases, albeit unsuccessfully, is the continuous violation

doctrine, which would bring otherwise time-barred claims within the statute of limitations.”).

       Plaintiff relies on the line of cases holding that when a plaintiff alleges a series of

violations, activity outside the one-year period is barred by limitations, while activity within

the one-year period is not. Although Defendant asserts that Plaintiff is pursuing a continuing

violation theory, a careful analysis of the briefing shows that Plaintiff is at most arguing that

acts outside the one-year limitations period are relevant, not that they are actionable. Plaintiff

does not espouse, and the Court does not adopt, any continuing violation theory.




                                                8
        Case 5:18-cv-00340-XR Document 31 Filed 12/26/18 Page 9 of 19




       Plaintiff contends that Roe represents the minority view, and that in fact this Court has

already recognized and applied the majority view in Boles v. Moss Codilis, LLP, No. SA-10-

CV-1003-XR, 2012 U.S. Dist. LEXIS 196826, 2012 WL 12861080 (W.D. Tex. Jan. 17, 2012).

In Boles, the debt collector sent the plaintiff a series of letters attempting to collect on the

same alleged debt, and all of which contained the same allegedly misleading statement. The

defendant argued that limitations began when the first letter was sent, because otherwise a

cause of action could be “kept alive indefinitely.” Although this Court did not adopt a

“continuing violation” theory, the Court agreed with what it found to be the majority view that

discrete violations should be analyzed on an individual basis and that the letter sent within the

limitations period was actionable.

       The Court follows its prior opinion in Boles and the majority view of cases treating

each alleged violation as a discrete violation for purposes of limitations. The FDCPA’s

limitations period runs “from the date on which the violation occurs” and thus its applicability

“turns on when the alleged ‘violation’ occurred.” Demarais v. Gurstel Chargo, P.A., 869 F.3d

685, 691 (8th Cir. 2017). The language of § 1692f(1) is: “A debt collector may not use unfair

or unconscionable means to collect or attempt to collect any debt. Without limiting the general

application of the foregoing, the following conduct is a violation of this section: (1) The

collection of any amount (including any interest fee, charge, or expense incidental to the

principal obligation) unless such amount is expressly authorized by the agreement creating the

debt or permitted by law.” Thus, limitations turns on when Defendant “collected” the fee

within the meaning of the FDCPA – when it sent the first letter including the Sage Crossing

bill assessing the fee, when it sent each letter attempting to collect on the debt that included

                                               9
         Case 5:18-cv-00340-XR Document 31 Filed 12/26/18 Page 10 of 19




the fee, not until it actually collects the fee,1 when it sues to collect such a fee, all of the

above?

         Without expressly addressing this issue, Defendant’s motion presumes that

“collection” occurred in the first letter that included the fee in 2012, and no other time.

However, courts have construed § 1692f(1) as including attempts to collect. As discussed in

McLain v. Head Mercantile Co., Inc., No. 16-780-JWD-RLB, 2017 WL 3710073, at *21

(M.D. La. Aug. 28, 2017):

                 Although the catchall provision of 1692f specifically notes that both
         actual collection and collection attempts are proscribed by statute, subsection
         1692f(1) refers only to the collection of any amounts not authorized by contract
         or by law. See 15 U.S.C. §§ 1692f and f(1). However, the Court finds that the
         catchall provision is intended to encompass the nonexclusive list of enumerated
         offenses in its subsections, and that the “attempt” language of 1692f also
         applies to 1692f(1). . . . . This conclusion is consistent with jurisprudence
         addressing this exact issue. See, e.g., Diaz v. Kubler Corp., 785 F.3d 1326,
         1328 (9th Cir. 2015) (“[T]he [FDCPA] prohibits debt collectors from trying to
         collect any amount that is not ‘expressly authorized by the agreement creating
         the debt or permitted by law.’ 15 U.S.C. § 1692f(1).”); McCollough v. Johnson,
         Rodenburg & Lauinger, LLC, 637 F.3d 939, 949 (9th Cir. 2011) (“Section
         1692f(1) prohibits the use of ‘unfair or unconscionable means to collect or
         attempt to collect any debt[.]’”); Miller v. Wilpoff & Abramson, L.L.P., 321
         F.3d 292, 308 (2d Cir. 2003) (“plaintiff's cause of action under § 1692f(1)
         requires a showing that defendants attempted to collect an amount not expressly
         permitted either by the agreement creating the debt or by law.”); Thomas, 232
         F.Supp.3d at 676–77 (“Section 1692f(1) is one of a number of nonexclusive
         examples of conduct that violates the more general proscription of 1692f,
         which outlaws attempts.”); Shami, 914 F.Supp.2d at 357 (“The fact that
         subsection (1) of § 1692f does not specify that it includes both collections of
         and attempts to collect unauthorized incidental fees does not limit the general
         provision of the statute that includes attempts to collect. Courts in this circuit
         and others have continued to resolve cases involving § 1692f(1) where no
         actual collection appears to have taken place, instead focusing on the
         communication seeking payment itself.”); B-Real, LLC v. Rogers, 405 B.R.

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 Along this vein, one court has held that § 1692f(1) is premised on “actual collection” such that the defendant
had to prove that the actual collection or the payoff amount was outside the statute of limitations. Kline v. MERS,
154 F. Supp. 3d 567 (S.D. Ohio 2015). Under this view, the statute of limitations has not yet begun to run in this
case. The Court does not adopt this view.
                                                        10
       Case 5:18-cv-00340-XR Document 31 Filed 12/26/18 Page 11 of 19




       428, 433 (M.D. La. 2009) (“Section 1692f(1) prohibits a debt collector from
       seeking to collect on any amount ‘unless ... permitted by law.’”); McAdams v.
       Citifinancial Mortg. Co., Inc. of New York, 06-27 and 06-636, 2008 WL
       577559, at *2 n.6 (M.D. La. Mar. 3, 2008) (reading Section 1692f and 1692f(1)
       in tandem to apply the “attempt” language of 1692f to 1692f(1)); Jackson v.
       Adcock, 03-3369, 2004 WL 1900484, at *5 n.27 (E.D. La. Aug. 23 2004)
       (same).

       Thus, “[a] debt collector violates § 1692f(1) when it sends a letter attempting to collect

money not permitted by law.” Demarais, 869 F.3d at 691 (citing Duffy v. Landberg, 215 F.3d

871, 875 (8th Cir. 2000)). In addition, a debt collector violates § 1692e when it makes a false

representation or uses false representations as proscribed in that section. The Eighth Circuit

has held that each alleged violation of the FDCPA is evaluated individually to determine

whether any portion of the claim is barred by limitations, and it does not matter that the debt

collector’s violation restates earlier assertions. Demarais, 869 F.3d at 694. Thus, if the

plaintiff plausibly alleges that the debt collector defendant violated the FDCPA on a certain

date within the one-year limitations period, the plaintiff’s claim is not barred by limitations. Id.

Accordingly, summary judgment on limitations is denied as to Plaintiff’s claims that the April

20, 2017 letter violated §§ 1692e and 1692f(1).

B. Whether the fees are authorized?

       The lawfulness of the $91 attorney’s fee charge and the $50 collection fee turns on

whether the charges are “expressly authorized by the agreement creating the debt or permitted

by law.” 15 U.S.C. §1692f(1). Defendant argues that, even if Plaintiff’s claims are not barred

by limitations, the fees charged do not violate the FDCPA because they are authorized by

Plaintiff’s lease agreement, which is the agreement creating the debt. Paragraph 32 of the

Lease provides that if the tenant breaches the lease, all monthly rent for the rest of the lease

                                                11
       Case 5:18-cv-00340-XR Document 31 Filed 12/26/18 Page 12 of 19




contract would be accelerated and would be immediately due, and provides as “other

remedies” that Sage Crossing “may recover attorney’s fees in connection with enforcing our

rights under this Lease Contract” and that the tenant “must pay all collection-agency fees if

you fail to pay all sums due within 10 days after we mail you a letter demanding payment and

stating that collection agency fees will be added if you don’t pay all sums by that deadline.”

       Plaintiff argues that Defendant has not shown that any attorney work was done to

authorize the $91 attorney fee under the lease and that, “[g]iven that the contract between

Plaintiff and the original creditor does not expressly authorize the amount of the collection fee,

nor has Defendant fulfilled the express requirements under the contract in order to collect the

collection fee, it is not beyond dispute that such fees are not authorized by the lease document

signed by Plaintiff.”

       1. $50 collection fee charged by Defendant

       Defendant asserts that the $50 collection fee is lawful because it was authorized in ¶ 32

of the lease. It would be Plaintiff’s burden at trial to establish that the collection fee was not

authorized by the Lease agreement. Plaintiff argues that Defendant has not shown that the

collection-agency fee is specifically authorized on these facts because the lease states, “You

must pay all collection-agency fees if you fail to pay all sums due within 10 days after we mail

you a letter demanding payment and stating that collection agency fees will be added if you

don’t pay all sums by that deadline.” Plaintiff argues that “the creditor is required to send a

letter to Plaintiff” and “Defendant does not attach the letter to its motion, nor has it provided

this letter in discovery” such that fact issues remain about whether the demand letter was sent

and thus whether the fee is permissible.

                                               12
       Case 5:18-cv-00340-XR Document 31 Filed 12/26/18 Page 13 of 19




       However, even though Defendant is the summary judgment movant, it is not required

to negate an element of Plaintiff’s case. Austin v. Kroger Tex., L.P., 864 F.3d 326, 335 (5th

Cir. 2017) (“[I]t has long been the rule that when the nonmovant has the burden of proof at

trial, the moving party may make a proper summary judgment motion, thereby shifting the

summary judgment burden to the nonmovant, with an allegation that the nonmovant has failed

to establish an element essential to that party’s case.”); In re Louisiana Crawfish Producers,

852 F.3d 456, 463 (5th Cir. 2017) (rejecting plaintiffs’ argument that the district court erred by

shifting the summary judgment burden to them because the defendant did not submit any

evidence in support of its motion for summary judgment because plaintiffs bore the burden of

proof at trial and therefore the burden of demonstrating facts necessary to their claim).

       Defendant’s assertion that the fee is lawful is a direct challenge to Plaintiff’s assertion

that it is not lawful. Defendant argued that the fee is permitted by the lease, and asserted that

there was likely no direct evidence concerning whether Sage Crossing sent the letter, given the

passage of time. Docket no. 16 at 5. Defendant’s motion notes that it need not negate the

elements of Plaintiff’s claim but can “point out the absence of evidence supporting the non-

movant’s case.” Docket no. 12 at 4.

       Defendant’s motion sufficiently shifted the burden to Plaintiff to show why the fee was

not lawful by coming forward with summary-judgment evidence that the letter was not sent

and that the fee is thus not authorized by the Lease or that the fee was otherwise exorbitant or

unlawful. Defendant need not use the magic words “no evidence” to successfully assert the

absence of facts supporting an element of the plaintiff’s claim. Plaintiff has provided no

evidence to support her assertion that the letter was never sent and thus the collection fee is

                                               13
        Case 5:18-cv-00340-XR Document 31 Filed 12/26/18 Page 14 of 19




unauthorized. She could have provided an affidavit stating that she never received such a

letter, which would have been some circumstantial evidence that the letter was never sent and

would have required no discovery. But she did not do so, despite this motion being on file for

over four months. She could also have appeared and testified at the summary-judgment

hearing, but she did not.

        Because Defendant’s motion put this fact in issue, Plaintiff cannot point to the

existence of “no evidence” to establish a fact issue. Little v. Liquid Air Corp., 37 F.3d 1069,

1075 (5th Cir. 1994) (“We do not, . . ., in the absence of any proof, assume that the nonmoving

party could or would prove the necessary facts.”). Rather, Plaintiff had the burden to produce

summary-judgment evidence upon which a jury could reasonably find that the letter was not in

fact sent. Id. (where critical evidence is so weak or tenuous on an essential fact that it could

not support a judgment in favor of the nonmovant, summary judgment is appropriate). On this

summary judgment record, there is no evidence from which a jury could reasonably find either

that the letter was or was not sent. That is not a fact question, but an absence of evidence,

which is an appropriate basis for summary judgment.

        Defendant further provided some evidence to justify the amount of the fee, and

Plaintiff provided no evidence to raise a fact issue on whether the fee is exorbitant. The lease

permits assessment of all collection fees, without limitation. The Court finds as a matter of law

that the $50 fee is not exorbitant and is lawful, as it is 1% of the debt and is reasonably related

to collection costs.2



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 One court has held that an 18% collection fee was not usurious and thus not violative of the FDCPA. Bibbins v.
McCarthy, Burgess & Wolff, Inc., No. 16-cv-02829, 2018 WL 1534969, at *3 (N.D. Ill. Marc. 29, 2018).

                                                      14
        Case 5:18-cv-00340-XR Document 31 Filed 12/26/18 Page 15 of 19




        Defendant’s motion for summary judgment is granted as to Plaintiff’s claims related to

the $50 collection fee.

        2. $91 attorney fee charged by Sage Crossing

        With regard to the attorney’s fee charge, Defendant asserts that the $91 attorney’s fee

was assessed by Sage Crossing and included in Plaintiff’s debt account balance under the

lease, and the fee did not originate with Defendant. Defendant argues that it was not the

producing cause of Plaintiff’s complaint about the $91 attorney’s fee and her claim should be

directed at Sage Crossing, not Defendant, who was entitled to rely on the account as stated by

the creditor when the debtor does not dispute the debt within thirty days of receiving the letter.

Plaintiff contends that the fact that Sage Crossing may have imposed the $91 attorney fee is

irrelevant because the FDCPA is a strict liability statute, and Defendant has not established a

bone fide error defense.3

        Paragraph 32 of the lease states that “[Sage Crossing] may recover attorney’s fees in

connection with enforcing our rights under this Lease Contract.” Plaintiff argues that

attorney’s fees are allowable only if actual attorney work was done to enforce the lease, and

that Defendant has not shown as a matter of law that the $91 fee was allowable on the facts

even though the lease generally permits recovery of attorneys’ fees. Again, it is Plaintiff’s

burden to prove that PRG is attempting to collect an amount that is not expressly authorized

by the agreement creating the debt. PRG asserts in its motion that it is not violating the

FDCPA because the fee is part of the debt assessed by the creditor, Sage Crossing, pursuant to


3
  Debt collectors are entitled to a defense for conduct that otherwise violates the FDCPA “if the debt collector
shows by a preponderance of the evidence that the violation was not intentional and resulted from a bona fide
error notwithstanding the maintenance of procedures reasonably adapted to avoid any such error.” 15 U.S.C. §
1692k(c).
                                                        15
          Case 5:18-cv-00340-XR Document 31 Filed 12/26/18 Page 16 of 19




¶ 32 of the Lease and is lawful. Docket no. 12 at 2 (“It was lawful for Defendant to seek the

collection of the $91.00.”); id. at 5 (“The $50 and $91 fees were lawful.”).

          For Plaintiff to succeed on her claim, and before Defendant would be required to prove

a bona fide error defense, Plaintiff must prove that PRG was attempting to collect an

unauthorized fee. Plaintiff asserts that the fee must be considered unlawful because there is no

evidence that Sage Crossing utilized attorney services that would warrant imposition of

attorney’s fees. But again, Plaintiff cannot rely on an assertion of “no evidence” to create a

fact issue on an element on which she bears the ultimate burden of proof. Plaintiff provides no

evidence to raise a material issue of fact as to whether attorney’s services were utilized,4 and

this lack of evidence from which a jury could find for Plaintiff requires summary judgment.

          Defendant’s motion for summary judgment is granted as to the $91 attorneys’ fee

charge.

C. Whether the statement “Don’t wait, call today and begin to re-establish your credit”

is misleading in violation of the FDCPA?

          PRG asserts that it is entitled to summary judgment on this claim because the language

is not deceptive or misleading. We must evaluate any potential deception in the letter under an

unsophisticated or least sophisticated consumer standard. That is, in determining whether the

defendant’s actions are deceptive, we must assume that the plaintiff-debtor is neither shrewd

nor experienced in dealing with creditors. At the same time, we do not consider the debtor as


4
 To the extent Plaintiff sought a continuance to obtain discovery from Sage Crossing, she failed to comply with
Rule 56(d) or explain why she had not yet obtained this discovery during the past four months. In addition, as
noted at the hearing, it appears that discovery from Sage Crossing on this issue would be futile as Defendant has
submitted evidence that Sage Crossing has changed management and no longer has the relevant records
concerning Segovia’s debt. This problem is largely a result of the fact that Plaintiff, rather than disputing the
charge after the initial dunning letter in 2012, waited until 2018 to challenge the fee.
                                                          16
        Case 5:18-cv-00340-XR Document 31 Filed 12/26/18 Page 17 of 19




tied to the “very last rung on the [intelligence or] sophistication ladder.” Goswami v. Am.

Collections Enter., Inc., 377 F.3d 488, 495 (5th Cir. 2004). In the Fifth Circuit, whether an

unsophisticated consumer would perceive a letter as misleading, deceptive, or unfair is usually

a question of fact, though the decision may be made as a matter of law when reasonable minds

cannot differ. Gomez v. Niemann & Heyer, LLP, No. 1:16-CV-119-RP, 2016 WL 3562148

(W.D. Tex. June 24, 4016).

        Although PRG did not initially move for summary judgment on this claim, in its Reply

it asserts that it is entitled to summary judgment on this claim because “[n]o least sophisticated

customer could possibly believe that a debt payment will cure the debtor’s negative credit

bureau report” but would know that paying debts helps their credit, such that nobody could

really be confused or misled. Docket no. 16 at 6. Plaintiff notes that this issue was raised

initially in the reply and asserts that the Court should thus not grant summary judgment on it.

However, Plaintiff does respond to the motion on the merits, arguing that the letter is clearly

false and misleading to the least sophisticated consumer, and Plaintiff filed a Sur-Reply. Thus,

the Court finds that Plaintiff had notice and an opportunity to respond to Defendant’s motion

on this claim, and that the issue is ripe for disposition.

        Defendant asserts that the statement is not misleading because it does not promise to

fix Plaintiff’s credit; it states only that payment would “begin” to re-establish Plaintiff’s credit.

Plaintiff argues that a consumer would believe that by making payment on the debt, she would

re-establish her credit. Plaintiff argues this is false because in many instances paying off a debt

actually hurts a consumer’s credit score because it make the payment of the debt appear as a

recent negative, negatively affecting the FICO score. Second, she argues that the item was set

                                                 17
        Case 5:18-cv-00340-XR Document 31 Filed 12/26/18 Page 18 of 19




to remain on Plaintiff’s credit report for a short period of time, and so might not have reflected

on her credit at all, let alone re-establish her credit. Plaintiff says there is no dispute this

statement was made to incentivize the consumer to make payment, with the belief it would

help her credit, and therefore it is a false representation.

        Plaintiff relies on Knight v. Midland Credit Management, Inc., No. 17-3786, __ F.

App’x __, 2018 WL 5876985 (3d Cir. Nov. 8, 2018), in which the court of appeals reversed a

12(b)(6) dismissal. Plaintiff argued that the statement, “We can’t change the past, but we can

help with your future,” was misleading because it creates a false interpretation that paying off

the debt will improve the debtor’s credit score or credit worthiness, when paying off a

delinquent debt would actually harm the debtor’s credit score. Id. at *3.

        In this case, PRG’s statement does not promise to improve a consumer’s credit or

credit score. Even if it could be considered false or misleading because it would in fact have a

short-term effect of negatively affecting a consumer’s credit score, Plaintiff has provided no

evidence to that effect. Knight was decided on a motion to dismiss for failure to state a claim.

This case is at summary judgment. Plaintiff has presented no evidence from which a jury

could conclude that the statement is false and therefore misleading or deceptive. Counsel’s

arguments are not evidence. Thus, the Court grants summary judgment on this claim.

D. Defendant’s counterclaims for attorney’s fees and costs

        The Court sua sponte considers summary judgment on Defendant’s counterclaim under

15 USC § 1692k(a)(3), which states, “On a finding by the court that an action under this

section was brought in bad faith and for the purpose of harassment, the court may award to the

defendant attorney’s fees reasonable in relation to the work expended and costs.” While

                                                  18
       Case 5:18-cv-00340-XR Document 31 Filed 12/26/18 Page 19 of 19




ordinarily notice and an opportunity to be heard would be needed before granting summary

judgment, the statute makes this an issue for the Court rather than a jury, and it can be decided

at this point as a matter of law such that Defendant would not be harmed by the lack of

opportunity to present evidence. The Court finds that the action was not brought in bad faith or

for the purpose of harassment, and grants summary judgment in favor of Plaintiff on

Defendant’s counterclaim.

                                          Conclusion

       Although the Court disagrees with Defendant that Plaintiff’s claims are barred by the

statute of limitations, the Court finds that summary judgment is warranted on the merits of

Plaintiff’s claims. Thus, the Motion for Summary Judgment (docket no. 12) is GRANTED.

The Clerk shall enter Judgment that Plaintiff’s claims are dismissed on the merits with

prejudice and that Plaintiff shall take nothing by her claims. After sua sponte consideration of

Defendant’s counterclaim for fees and costs, Plaintiff is awarded summary judgment on

Defendant’s counterclaim, and Defendant shall take nothing by its counterclaim.

       This case is now CLOSED.

       It is so ORDERED.

       SIGNED this 26th day of December, 2018.




                                             XAVIER RODRIGUEZ
                                             UNITED STATES DISTRICT JUDGE




                                               19
